             Case 2:17-cv-01611-RSL Document 74 Filed 04/09/21 Page 1 of 4




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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE
 7
     ANDREA SCHMITT; ELIZABETH
 8   MOHONDRO; and O.L. by and through                NO. 2:17-cv-01611-RSL
     her parents, J.L. and K.L., each on their own
 9   behalf, and on behalf of all similarly
     situated individuals,                            STIPULATION AND ORDER SETTING
10
                                                      TRIAL DATE & RELATED DATES
11                        Plaintiffs,

12          v.

13   KAISER FOUNDATION HEALTH PLAN
     OF WASHINGTON; KAISER
14
     FOUNDATION HEALTH PLAN OF
15   WASHINGTON OPTIONS, INC.; KAISER
     FOUNDATION HEALTH PLAN OF THE
16   NORTHWEST; and KAISER
     FOUNDATION HEALTH PLAN, INC.,
17

18                        Defendants.

19                                       I.   STIPULATION
20          The parties by and through their counsel hereby propose that the Order Setting
21   Trial Date and Related Dates (Dkt. No. 55) be amended for good cause due to
22   Defendants’ pending Motion to Dismiss the Fourth Amended Complaint. The parties
23   anticipate that a four month delay of the case scheduling order is proper in order to allow
24   the parties to complete briefing on the defendants’ Motion, and for the Court to render
25   its decision.

26
                                                                          SIRIANNI YOUTZ
     STIPULATION AND ORDER RE: ORDER SETTING                        SPOONEMORE HAMBURGER PLLC
     TRIAL DATE AND RELATED DATES (DKT. NO. 55) – 1                    3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:17-cv-01611-RSL]                                         SEATTLE, WASHINGTON 98121
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:17-cv-01611-RSL Document 74 Filed 04/09/21 Page 2 of 4




 1         The Parties agree that the Case Scheduling Order should be amended as follows:

 2         Trial Date:                                      May 16, 2022 or thereafter
 3
           Motion for Class Certification                   August 5, 2021
 4
           Reports from Expert Witnesses due under
 5         FRCP 26(a)(2)                                    November 5, 2021

 6         All motions related to discovery must be
           noted on the motion calendar no later than
 7
           the Friday before discovery closes pursuant
 8         to LCR 7(d) or LCR 37(a)(2)

 9         Settlement conference held no later than         December 20, 2021

10         Discovery completely by                          January 14, 2022

11         All dispositive motions must be filed by
           and noted on the motion calendar no later
12
           than the fourth Friday thereafter (see LCR
13         7(d)(3))                                         February 11, 2022

14         All motions in limine must be filed by           March 11, 2022
           and noted on the motion calendar no earlier
15
           than the second Friday thereafter.
16
           Replies will be accepted.
17
           Agreed pretrial order due                        March 25, 2022
18
           Pretrial conference to be scheduled by the
19
           Court
20
           Trial briefs and trial exhibits due              April 18, 2022
21
           Length of Trial: 6 days                          Non Jury
22

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                                                                     SIRIANNI YOUTZ
     STIPULATION AND ORDER RE: ORDER SETTING                   SPOONEMORE HAMBURGER PLLC
     TRIAL DATE AND RELATED DATES (DKT. NO. 55) – 2               3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:17-cv-01611-RSL]                                    SEATTLE, WASHINGTON 98121
                                                                TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:17-cv-01611-RSL Document 74 Filed 04/09/21 Page 3 of 4




 1   DATED: April 8, 2021.

 2   KARR TUTTLE CAMPBELL                                SIRIANNI YOUTZ
                                                         SPOONEMORE HAMBURGER PLLC
 3

 4   /s/ Medora A. Marisseau (per email authorization)    /s/ Eleanor Hamburger
     Medora A. Marisseau (WSBA #23114)                   Eleanor Hamburger (WSBA #26478)
 5   Mark A. Bailey (WSBA #26337)                        Richard E. Spoonemore (WSBA #21833)
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                                                         Attorneys for Plaintiffs
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                                                                               SIRIANNI YOUTZ
     STIPULATION AND ORDER RE: ORDER SETTING                             SPOONEMORE HAMBURGER PLLC
     TRIAL DATE AND RELATED DATES (DKT. NO. 55) – 3                         3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:17-cv-01611-RSL]                                              SEATTLE, WASHINGTON 98121
                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:17-cv-01611-RSL Document 74 Filed 04/09/21 Page 4 of 4




                                            II. ORDER
 1
           The above having been stipulated by all parties, and the Court having found good
 2
     cause, IT IS SO ORDERED that the Order Setting Trial Date and Related Dates (Dkt. No.
 3
     55) is ordered amended as follows:
 4
           Trial Date:                                         June 6, 2022
 5
           Motion for Class Certification                      August 5, 2021
 6
           Reports from Expert Witnesses due under
 7         FRCP 26(a)(2)                                       November 5, 2021

 8         All motions related to discovery must be
           noted on the motion calendar no later than
 9         the Friday before discovery closes pursuant
           to LCR 7(d) or LCR 37(a)(2)
10
           Settlement conference held no later than            December 20, 2021
11
           Discovery completely by                             January 14, 2022
12
           All dispositive motions must be filed by
13
           and noted on the motion calendar no later
14
           than the fourth Friday thereafter (see
           LCR 7(d)(3))                                        February 11, 2022
15
           All motions in limine must be filed by              March 11, 2022
16         and noted on the motion calendar no earlier
           than the second Friday thereafter.
17
           Replies will be accepted.
18
           Agreed pretrial order due                           March 25, 2022
19
           Pretrial conference to be scheduled by the
20         Court
21         Trial briefs and trial exhibits due                 April 18, 2022

22         Length of Trial: 6 days                             Non Jury

23
           DATED: April 9, 2021.
24                                                           Robert S. Lasnik
                                                        United States District Judge
25

26
                                                                         SIRIANNI YOUTZ
     STIPULATION AND ORDER RE: ORDER SETTING                       SPOONEMORE HAMBURGER PLLC
     TRIAL DATE AND RELATED DATES (DKT. NO. 55) – 4                   3101 WESTERN AVENUE, SUITE 350
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